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                                                                                                       E-FILED
                                                                          Friday, 06 October, 2017 11:33:42 AM
                                                                                   Clerk, U.S. District Court, ILCD

                              UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF ILLINOIS
                                     PEORIA DIVISION

GERALD JONES,                                         )
                                                      )
                                Plaintiff,            )
                                                      )
v.                                                    )         17-1390
                                                      )
KELLY RENZI, et al.                                   )
                                                      )
                                Defendants.           )

                                                  ORDER

        Plaintiff, proceeding pro se and presently incarcerated at Pontiac Correctional Center

brought the present lawsuit pursuant to 42 U.S.C. § 1983. The Court previously granted

Plaintiff’s Petition to Proceed in forma pauperis (Doc. 3) in its Text Order entered August 28,

2017. For the reasons discussed below, the Court vacates its previous order granting Plaintiff’s

petition, and Plaintiff’s Petition to Proceed in forma pauperis (Doc. 3) is denied.

        Title 28 U.S.C. § 1915(g) provides that:

        “In no event shall a prisoner bring a civil action or appeal a judgment in a civil
        proceeding under this section if the prisoner has, on 3 or more occasions, while
        incarcerated or detained in any facility, brought an action or appeal in a court of
        the United States that was dismissed on the grounds that it is frivolous, malicious,
        or fails to state a claim upon which relief may be granted, unless the prisoner is
        under imminent danger of serious physical injury.”

28 U.S.C. § 1915(g). Plaintiff has, on three or more occasions, accumulated strikes under

Section 1915(g). See Jones v. French, No. 13-CV-1556, ECF No. 6, fn 1 (C.D. Ill., filed Nov.

22, 2013) (listing Plaintiff’s three strikes).

        Accordingly, Plaintiff may only proceed only if he alleges he is under imminent danger

of serious physical injury. The imminent danger inquiry is two-pronged. The first prong is

construed narrowly to include genuine emergencies where “time is pressing” and a “threat . . . is

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real and proximate.” Heimermann v. Litscher, 337 F.3d 781, 782 (7th Cir. 2003); see also Lewis

v. Sullivan, 279 F.3d 526, 531 (7th Cir. 2002). Furthermore, the harm must be occurring “at the

time the complaint is filed.” Ciarpaglini v. Saini, 352 F.3d 328, 330 (7th Cir. 2003). The second

prong, danger, must be of “serious physical injury.” 28 U.S.C. § 1915(g); Fletcher v.

Deathridge, 2008 WL 4724173, at *2 (C.D. Ill. Oct. 23, 2008).

       Plaintiff filed the Complaint on August 25, 2017. Plaintiff alleges that Defendants have

created inhumane conditions of confinement over the past 20 years that include failing to protect

inmates from other inmates who throw feces while in the yard, creating excessive noise,

tampering with mail, failing to provide medical and mental health treatment, and the use of

excessively tight restraints. Plaintiff also alleges that Defendants have retaliated against him for

filing grievances.

       Most of the events Plaintiff alleges occurred in 2016 or before. The only allegations of

recent events contained in the Complaint are: (1) May 2017 allegations of an improper cell

shakedown and use of excessive force; and (2) July 2017 allegations that prison officials stole

Plaintiff’s legal property, used excessive force, and refused to provide medical care for a wound

that later healed on its own.

       The most recent events Plaintiff alleges occurred approximately one month prior the

filing of his Complaint and none of the allegations suggest Plaintiff is in imminent danger of

substantial physical injury. The Court finds that Plaintiff does not satisfy the requirements of the

imminent danger exception to 28 U.S.C. § 1915(g). Pursuant to Rule 60 of the Federal Rules of

Civil Procedure, the Court finds that its Text Order entered August 28, 2017, granting Plaintiff

leave to proceed in forma pauperis was made in error and the text order is therefore vacated. See




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Fed. R. Civ. P. 60(a) (court may, on its own motion, correct an error or omission when one is

found in the record). Plaintiff’s Petition to Proceed in forma pauperis (Doc. 3) is denied.

IT IS THEREFORE ORDERED:

       1) The Court’s Text Order entered August 28, 2017 is VACATED.

       2) Plaintiff’s Petition to Proceed in forma pauperis [3] is DENIED. Plaintiff shall,
          within 21 days of this Order, pay the $400.00 filing fee in full. Failure to do so
          will result in dismissal of this case without prejudice.

Entered this 6th day of October, 2017.



                                      s/Sara Darrow
                                    SARA DARROW
                             UNITED STATES DISTRICT JUDGE




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